                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION

                                   Case No. 7:16-cv-30

BONNIE PELTIER, as Guardian                          :           PLAINTIFFS’
of A.P., a minor child, et al.;                      :        MEMORANDUM IN
                                                     :     SUPPORT OF ENTRY OF
    Plaintiffs,                                      :   PARTIAL FINAL JUDGMENT
                                                     :        UNDER RULE 54(b),
                     v.                              :   DECLARATORY JUDGMENT,
                                                     :         AND PERMANENT
CHARTER DAY SCHOOL, INC., et al.;                    :      INJUNCTION, AND IN
                                                     :    PARTIAL OPPOSITION TO
     Defendants.                                     :   DEFENDANTS’ MOTION FOR
                                                     :   INTERLOCUTORY APPEAL,
                                                     :    OR, IN THE ALTERNATIVE,
                                                     :    ENTRY OF PARTIAL FINAL
                                                     :            JUDGMENT
                                                     :


                                    INTRODUCTION

       Plaintiffs, three girls represented by their guardians ad litem, brought this action to

challenge the discriminatory uniform policy (“the Uniform Policy”) at Charter Day

School (“CDS”). The Uniform Policy establishes a dress code requiring girls to wear

skirts to school while allowing boys to wear shorts or pants (“the Skirts Requirement”).

The suit alleges that the Skirts Requirement violates the Equal Protection Clause of the

United States Constitution, pursuant to 42 U.S.C. § 1983, and Title IX of the Education

Amendments of 1972. DE 13 ¶¶ 147-166. The suit further alleges that the Skirts

Requirement violates the Equal Protection Clause of the North Carolina Constitution and


                                              1



     Case 7:16-cv-00030-M-KS         Document 230        Filed 07/03/19    Page 1 of 23
that its enforcement breaches two contracts. Id. ¶¶ 167-189. Both parties filed cross-

motions for summary judgment on all claims. DE 150, 159, 170, 177, 184.

         This Court granted Plaintiffs’ Motion for Summary Judgment on their Equal

Protection Clause claim and granted Defendants’ Motion for Summary Judgment on

Plaintiffs’ Title IX claim. DE 216 at 17, 33. The Court denied without prejudice the

parties’ cross-motions for summary judgment on the state constitutional and breach of

contract claims, holding that they could be refiled, if appropriate, with additional briefing

in support. Id. at 34-35. Defendants moved to certify the Court’s Equal Protection Clause

holding for interlocutory appeal under 28 U.S.C. § 1292(b), or, in the alternative, for

entry of partial final judgment on the Equal Protection Clause claim under Federal Rule

of Civil Procedure 54(b). DE 226.

         Plaintiffs move that the Court issue final judgment as to both Plaintiffs’ Equal

Protection claim and Title IX claim. Entry of partial final judgment is the appropriate

vehicle to obtain finality where, as here, the Court has already reached the ultimate

disposition on both claims, there is no just reason to delay entry of final judgment, and

issuance of a declaratory judgment and injunctive relief are warranted. Nor is there any

basis to distinguish between the Court’s rulings as to the Equal Protection and the Title

IX claims, both of which satisfy the requirements of Federal Rule of Civil Procedure

54(b).




                                               2



     Case 7:16-cv-00030-M-KS          Document 230       Filed 07/03/19    Page 2 of 23
       Plaintiffs also seek issuance of an injunction and formal entry of declaratory

judgment on Plaintiffs’ Equal Protection claim, enforcing the Court’s holding that the

Skirts Requirement violates the Equal Protection Clause.

       Entry of partial final judgment, rather than certification of interlocutory appeal, is

the appropriate course for this Court to follow at this juncture. Interlocutory appeal

should only be made under exceptional circumstances, which are not satisfied here. See

Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 145 (4th Cir. 2001); Myles v. Laffitte, 881

F.2d 125, 127 (4th Cir. 1989). Defendants’ request for interlocutory appeal pursuant to 28

U.S.C. § 1292(b) constitutes an attempt to short-circuit issuance of the injunction and

declaratory relief to which Plaintiffs are entitled under this Court’s March 28 Order, DE

216, to safeguard their constitutional rights. Moreover, entry under Rule 54(b) would

afford both parties the opportunity to seek appellate review of final rulings on both claims

as of right under 28 U.S.C. § 1291, should they so desire.

       In addition to being procedurally improper, interlocutory appeal is unwarranted

because, based on the factual record before this Court, Defendants cannot satisfy the

requirements of demonstrating that there is a “substantial difference of opinion” on the

question of whether the Skirts Requirement violates Plaintiffs’ rights to equal protection

of the law. Defendants’ motion to certify interlocutory appeal of the Court’s ruling on the

Plaintiffs’ Equal Protection claim should therefore be denied, and an injunction and

declaratory judgment issued forthwith.



                                              3



     Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 3 of 23
            However, while Plaintiffs do not believe that an interlocutory appeal is warranted

     on their Equal Protection claim, and would not have independently sought appeal of this

     Court’s ruling on their Title IX claim via such an unfavored mechanism, they request that

     should the Court certify the Equal Protection claim for interlocutory appeal, it also issue

     such certification as to the Title IX claim. Unlike the Equal Protection ruling, this Court’s

     ruling on Plaintiffs’ Title IX claim does satisfy the requirements for certification under 28

     U.S.C. § 1292(b), and providing certification for interlocutory appeal as to both claims

     would afford both parties the opportunity to obtain appellate review on the rulings

     adverse to their respective interests.

            Finally, the Court should deny the Motion for a Stay of proceedings because the

     remaining state law claims, which have already been briefed in the Summary Judgment

     proceedings, see DE 150 at 46-50; DE 177 at 47-50; DE 181 at 19-20, would not be

     affected by issuance of a partial final judgment or issuance of an injunction, and need not

     await the outcome of any appeal that may follow.

                                              ARGUMENT

I.      THE COURT SHOULD ENTER A PARTIAL FINAL JUDGMENT UNDER
        RULE 54(B) ON BOTH THE TITLE IX AND EQUAL PROTECTION
        CLAUSE CLAIMS.

            Plaintiffs move this Court to enter partial final judgment on both their Equal

     Protection and Title IX claims. Plaintiffs do not oppose Defendants’ argument, posed in

     the alternative, DE 226 at 14-16, that this Court should enter partial final judgment

     pursuant to Federal Rule of Civil Procedure 54(b) on Plaintiffs’ Equal Protection Clause

                                                   4



          Case 7:16-cv-00030-M-KS         Document 230      Filed 07/03/19     Page 4 of 23
claim, but see no reason to grant partial final judgment as to one rather than both claims

that this Court reached in its March 28 Order. See DE 216.

       Rule 54 provides, “When an action presents more than one claim for relief . . . the

court may direct entry of a final judgment as to one or more, but fewer than all, claims . .

. only if the court expressly determines that there is no just reason for delay.” Fed. R. Civ.

P. 54(b). A court’s Rule 54(b) determination requires two steps. “First, the district court

must determine whether the judgment is final.” Braswell Shipyards, Inc. v. Beazer East,

Inc., 2 F.3d 1331, 1335 (4th Cir. 1993); see also Curtiss-Wright Corp. v. Gen. Elec. Co.,

446 U.S. 1, 7 (1980). “Second, the district court must determine whether there is no just

reason for the delay in the entry of judgment.” Braswell, 2 F.3d at 1335; see also Curtiss-

Wright, 446 U.S. at 8. Both conditions are met here as to the Court’s rulings on Plaintiffs’

Equal Protection and Title IX claims.

       A. The Court’s Ruling as to both the Equal Protection and Title IX claims is

           final.

       First, this Court’s March 28 Order on the parties’ cross motions for summary

judgment reached final judgment on both the Equal Protection Clause and Title IX

claims. DE 216. To qualify for entry of partial final judgment under Rule 54(b), a

decision “must be a ‘judgment’ in the sense that it is a decision upon a cognizable claim

for relief, and it must be ‘final’ in the sense that it is ‘an ultimate disposition of an

individual claim entered in the course of a multiple claims action.’” Curtiss-Wright, 446

U.S. at 7 (quoting Sears, Roebuck & Co. v. Mackey, 351 U.S. 427, 436 (1956)). The

                                                5



     Case 7:16-cv-00030-M-KS          Document 230        Filed 07/03/19     Page 5 of 23
March 28 Order reached the ultimate disposition of both the Equal Protection Clause and

Title IX claims in the context of a multiple-claims action that also involves pending state

law claims. DE 216 at 17, 33 (holding “Title IX does not regulate the uniform policy at

issue here” and granting Defendants’ motion for summary judgment on that claim, while

holding that “the skirts requirement of the uniform policy . . . violates the Equal

Protection Clause” and granting Plaintiffs’ motion for summary judgment on that claim).

       B. There is no just reason to delay entry of final judgment on the Equal
          Protection or Title IX claim.

       Second, there is no just reason to delay entry of final judgment on either the Equal

Protection Clause or Title IX claim. In deciding whether there are just reasons to delay,

“a district court must take into account judicial administrative interests as well as the

equities involved. Consideration of the former is necessary to assure that application of

the Rule effectively ‘preserves the historic federal policy against piecemeal appeals.’”

Curtiss-Wright Corp, 446 U.S. at 8 (quoting Sears, 351 U.S. at 438). In the Fourth

Circuit, this inquiry is fact-specific and may involve the following factors, where

relevant:

       (1) the relationship between the adjudicated and unadjudicated claims; (2)
       the possibility that the need for review might or might not be mooted by
       future developments in the district court; (3) the possibility that the
       reviewing court might be obliged to consider the same issue a second time;
       (4) the presence or absence of a claim or counterclaim which could result in
       a set-off against the judgment sought to be made final; (5) miscellaneous
       factors such as delay, economic and solvency considerations, shortening the
       time of trial, frivolity of competing claims, expense, and the like.

Braswell, 2 F.3d at 1335-36.

                                              6



     Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 6 of 23
       On the first factor although the remaining state law claims are related in several

respects to the federal claims, resolution of the state law claims is in no way necessary

prior to entry of final judgment on the federal claims. A final judgment that Defendants

cannot justify the Skirts Requirement under the heightened scrutiny applicable under the

federal Equal Protection Clause necessarily means Defendants could not meet the more

exacting standard applicable under the North Carolina Constitution. Sneed v. Greensboro

City Bd. of Educ., 299 N.C. 609, 618, 264 S.E.2d 106, 114 (1980). However, because the

North Carolina Constitution subjects violations of Equal Protection that impinge on the

exercise of the fundamental right to education to strict scrutiny analysis, the Court could

find a violation of the state Equal Protection clause independent of a final ruling under

the federal Equal Protection clause. The relationship between the two claims runs in only

one direction. Consequently, there is no justification to delay entry of judgment on the

federal constitutional claim already decided as it is entirely independent of the remaining

state constitutional claim.

       Similarly, while the breach of contract claims are in some ways dependent on the

resolution of the federal claims, the reverse is not true. If this Court finds that Plaintiffs

are third-party beneficiaries of the contracts between CDS, the North Carolina Board of

Education, and Roger Bacon Academy, a finding that the Skirts Requirement violates

either the Equal Protection Clause or Title IX necessitates a finding that Defendants have

breached those contracts. However, a finding of breach of contract based on the North

Carolina constitutional violation would have no effect on the resolution of the federal

                                               7



     Case 7:16-cv-00030-M-KS          Document 230        Filed 07/03/19     Page 7 of 23
claims. Moreover, resolution of the state law claims also necessitates that the Court make

findings that are entirely independent of the federal claims. These include (1) whether

Plaintiffs are third-party beneficiaries of the contracts in question; (2) whether a cause of

action lies for violations of the state constitution under these circumstances; (3) what

standard applies to violations of the right to Equal Protection of the law in the context of

the fundamental right to education established by the North Carolina Constitution; and

(4) whether the Skirts Requirement violates that constitutional standard. By contrast, the

resolution of the state law claims has no bearing on the federal claims already decided.

The Court therefore need not delay issuance of a final ruling on either the Equal

Protection or Title IX claims in order to reach the remaining claims.

       None of the remaining factors weigh against the entry of final judgment. No future

developments in the district court would moot the Equal Protection or Title IX claims,

making it unlikely that the Fourth Circuit would need to reconsider the same issues a

second time. To the extent that an appeal of the state law ruling were to follow appeal of

the federal claims, any such appeal would rest almost entirely if not exclusively on the

independent state law questions enumerated above. The fourth factor regarding set-off is

irrelevant in the instant case where Plaintiffs seek only declaratory relief, injunctive

relief, and nominal damages. The fifth miscellaneous factors weigh only in favor of

partial final judgment, where litigation has already been pending for over three years, the

factual record has been fully developed, and no remaining factual disputes remain to be



                                              8



     Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 8 of 23
      resolved. Plaintiffs should not be forced to sustain any further delay to secure protection

      of their constitutional and civil rights.

             Finally, given that the March 28 Order reached the “ultimate disposition” of both

      the Equal Protection Clause and Title IX claims, see DE 216; Curtiss-Wright, 446 U.S. at

      7, there is no justification for granting partial final judgment on the former but not the

      latter. Doing so would lead to piecemeal litigation and waste judicial resources. Curtiss-

      Wright, 446 U.S. at 8.

II.      PLAINTIFFS ARE ENTITLED TO DECLARATORY JUDGMENT AND
         PERMANENT INJUNCTION ON THEIR EQUAL PROTECTION CLAIM.

             In addition to issuing partial final judgment on Plaintiffs’ Title IX and Equal

      Protection claims, the Court should issue a permanent injunction and formally enter

      declaratory judgment in order to secure Plaintiffs’ constitutional rights going forward.

      Rule 54(b) “allows the district court to provide relief to litigants that would suffer undue

      hardship if final judgment is not entered on the adjudicated claim prior to the resolution

      of the unadjudicated claims.” Braswell Shipyards, Inc. v. Beazer East, Inc., 2 F.3d 1331,

      1335 (4th Cir. 1993). A plaintiff seeking a permanent injunction must demonstrate: “(1)

      that it has suffered an irreparable injury; (2) that remedies available at law, such as

      monetary damages, are inadequate to compensate for that injury; (3) that, considering the

      balance of hardships between the plaintiff and defendant, a remedy in equity is

      warranted; and (4) that the public interest would not be disserved by a permanent

      injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). Each of these

      factors is met in this case.
                                                    9



           Case 7:16-cv-00030-M-KS          Document 230      Filed 07/03/19     Page 9 of 23
       First, the deprivation of Plaintiffs’ constitutional rights “for even minimal periods

of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976); see also Newsom ex rel. Newsom v. Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261

(4th Cir. 2003). This Court already found that the Skirts Requirement “causes the girls to

suffer a burden the boys do not, simply because they are female” in violation of the Equal

Protection Clause. DE 216 at 33. Specifically, the Court found that the Skirts

Requirement “renders them unable to play as freely during recess, requires them to sit in

an uncomfortable manner in the classroom, causes them to be overly focused on how

they are sitting, distracts them from learning, and subjects them to cold temperatures on

their legs and/or uncomfortable layers of leggings under their knee-length skirts in order

to stay warm.” Id. Therefore, continued enforcement of the Skirts Requirement for even

minimal periods of time would subject Plaintiffs to irreparable injury.

       Second, as courts have long recognized, “monetary damages are inadequate to

compensate for the loss of [constitutional] freedoms.” Legend Night Club v. Miller, 637

F.3d 291, 302 (4th Cir. 2011); see also Does v. Cooper, No. 1:13CV711, 2016 WL

1629282, at *13 (M.D.N.C. Apr. 22, 2016), aff’d sub nom. Doe v. Cooper, 842 F.3d 833

(4th Cir. 2016). The dignitary harms suffered by the Plaintiffs in this case, including the

discomfort, distraction, teasing, and messages of inferiority conveyed by the Skirts

Requirement, cannot be compensated, just as their years of being deprived of educational

rights equal to their male classmates can never be regained.



                                             10



    Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 10 of 23
       Third, the balance of hardships weighs strongly in favor of granting a permanent

injunction. Plaintiffs face irreparable injury and a violation of their Fourteenth

Amendment rights if the Skirts Requirement remains in place. An injunction against

enforcement of the Skirts Requirement does not cause injury to Defendants who are “in

no way harmed by issuance of an injunction that prevents the[m] from enforcing

unconstitutional restrictions.” Legend Night Club, 637 F.3d at 302-03. Plaintiffs have not

challenged Defendants’ authority to enforce the Uniform Policy as a whole, and

Defendants remain free to enforce the rest of the Uniform Policy. They simply cannot

require female students to wear skirts, or prohibit them from wearing pants. Moreover, as

this Court recognized, a Uniform Policy that permits female students to wear pants would

be just as effective at furthering Defendants’ proffered goals—instilling discipline,

keeping order, and promoting respect. See DE 216 at 31-32. Indeed, following issuance

of the Court’s March 28 Order, DE 216, Defendants withdrew the Skirts Requirement for

the final months of the school year, seemingly without incident.

       By contrast, Plaintiffs have reason to fear that absent entry of an injunction,

Defendants are likely to reverse their decision to comply with the Court’s March 28

Order as soon as they are granted authority to pursue an appeal. Indeed, immediately

following the entry of that Order, Defendants published a notification to parents of

students at CDS stating that there would be “no changes” to the Uniform Policy due to

“ongoing litigation.” Booth Decl. at ¶ 5 & Ex. A; Sherwin Decl. at ¶ 4. Only after

Plaintiffs inquired through counsel as to whether Defendants intended to comply with the

                                             11



    Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 11 of 23
Court’s ruling and expressed their intention to move for an immediate entry of an

injunction did Defendants, the following day, publish a second notification permitting

girls to wear Uniform Policy-compliant pants or shorts. Booth Decl. at ¶¶ 7-8 & Ex. B;

Sherwin Decl. at ¶¶ 5-6 & Ex A. Defendants’ voluntary compliance thus far with the

Court’s Order therefore in no way mitigates the risk that, without an injunction, they will

revert to their previous practices and reinstitute the Skirts Requirement, causing

Plaintiffs’ to again suffer the harms and deprivation of their constitutional rights they

have already endured during the entire pendency of this litigation.

       As to the fourth factor, “upholding constitutional rights is in the public interest.”

Legend Night Club, 637 F.3d at 303; see also Centro Tepeyac v. Montgomery Cnty., 722

F.3d 184, 191 (4th Cir. 2013); Newsom ex rel. Newsom, 354 F.3d at 261. It inherently

serves the public for this Court to enjoin Defendants from enforcing a policy that it has

already held to be unconstitutional.

       Finally, in addition to granting an injunction, this Court should formally grant a

declaratory judgment that the Skirts Requirement violates the Equal Protection Clause.

See 28 U.S.C.§ 2201 (providing that a federal court “may declare the rights and other

legal relations of any interested party seeking such declaration, whether or not further

relief is or could be sought.”); Fed. R. Civ. P. 57 (“The existence of another adequate

remedy does not preclude a declaratory judgment that is otherwise appropriate”). A

declaratory judgment would formalize and bring finality to the conclusion this Court

already reached in its March 28 Order. DE 216 at 33. Declaratory judgments “shall have

                                              12



    Case 7:16-cv-00030-M-KS         Document 230        Filed 07/03/19    Page 12 of 23
       the force and effect of a final judgment or decree and shall be reviewable as such.” 28

       U.S.C. § 2201. Obtaining such finality would benefit Plaintiffs as well as afford

       Defendants the opportunity to seek appellate review in due course. A declaratory

       judgment and permanent injunction would thus preserve the status quo and ensure that

       Defendants do not reinstate the Skirts Requirement in violation of Plaintiffs’

       constitutional right to equal treatment at school.

III.      DEFENDANTS’ REQUEST FOR INTERLOCUTORY REVIEW OF THE
          EQUAL PROTECTION RULING SHOULD BE DENIED, BUT IF GRANTED,
          CERTIFICATION SHOULD BE EXTENDED TO BOTH CLAIMS.

              A. Interlocutory appeal under 28 U.S.C. § 1292(b) is not warranted as to
                 Plaintiffs’ Equal Protection claim.

              Interlocutory appeal of Plaintiffs’ Equal Protection claim is unwarranted because it

       is both procedurally disfavored and substantively unsupported. Interlocutory appeal is

       permissible pursuant to 28 U.S.C. § 1292(b) upon the Court’s finding that a non-final

       judgment “involves a controlling question of law as to which there is substantial ground

       for difference of opinion and that an immediate appeal from the order may materially

       advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). While available

       in appropriate cases, there is a general consensus that interlocutory appeal “should be

       used sparingly and thus that its requirements must be strictly construed.” Myles v. Lafitte,

       881 F.2d 125, 127 (4th Cir. 1989); see also Lienhart v. Dryvit Sys., Inc., 255 F.3d 138,

       145 (4th Cir. 2001); Goodman v. Archbishop Curley High Sch., Inc., 195 F. Supp. 3d

       767, 772 (D. Md. 2016) (courts should grant this “extraordinary remedy only in

       exceptional circumstances where early appellate review would avoid a protracted and
                                                    13



           Case 7:16-cv-00030-M-KS         Document 230      Filed 07/03/19     Page 13 of 23
expensive litigation process” (internal citations omitted)); United States v. Am. Soc’y of

Composers, Authors & Publishers, 782 F. Supp. 778, 818 (S.D.N.Y. 1991), aff’d, 956

F.2d 21 (2d Cir. 1992) (finding entry under Rule 54(b) preferable to certification of

interlocutory appeal where one claim is decided and another remained to be addressed,

and appellate review was preferable to awaiting final judgment on all claims). For that

reason, courts have found that a district court should not certify interlocutory appeal

“[u]nless all of the statutory criteria are satisfied.” Butler v. DirectSAT USA, LLC, 307

F.R.D. 445, 452 (D. Md. 2015) (emphasis in original).

       Defendants’ application for interlocutory appeal of this Court’s Equal Protection

ruling does not satisfy the “strict” standard required. See Myles, 882 F.2d at 127.

Plaintiffs do not dispute that the ruling is on a controlling question of law. However,

there could be no “substantial ground for difference of opinion,” on this factual record, as

to the conclusion that CDS is a state actor, or that the Skirts Requirement violates the

guarantee of Equal Protection.

       As discussed extensively in Plaintiffs’ summary judgment briefing, there should

be no question that a facial, sex-based classification that is justified on the basis of

stereotypes regarding boys’ and girls’ behavior, or that is based on the notion that girls

are more fragile and in need of protection than boys, would fail to survive scrutiny.

Indeed, the Supreme Court has left no doubt that all sex-based classifications are subject

to heightened scrutiny, and that under that exacting review, justifications grounded in

gender stereotypes or an appeal to traditional gender roles are per se impermissible.

                                              14



    Case 7:16-cv-00030-M-KS          Document 230       Filed 07/03/19     Page 14 of 23
Sessions v. Morales-Santana, 137 S. Ct. 1678, 1684, 1692-93 (2017); United States v.

Virginia, 518 U.S. 515, 533, 555 n.20 (1996); J.E.B. v. Alabama, ex rel. T.B., 511 U.S.

127, 135-36 (1994); Frontiero v. Richardson, 411 U.S. 677, 684 (1973); Knussman v.

Maryland, 272 F.3d 625, 636 (4th Cir. 2001).

         Moreover, there can be little doubt that the finding that CDS is a state actor was

correct. As a public school, created pursuant to the laws of the State of North Carolina

and to the charter granted by the North Carolina Board of Education to provide a free,

general public education to all students, CDS exists and operates “by virtue of state law .

. . and clothed with the authority of state law.” West v. Atkins, 487 U.S. 42, 49 (1988)

(internal citations omitted); DE 177 at 6-8.1 CDS also qualifies as a state actor because it

receives approximately 95% of its funding from public funds and is subject to an

extensive network of state regulations that governs the delivery of education to its

students. Mentavlos v. Anderson, 249 F.3d 301, 313 (4th Cir. 2001); DE 177 at 8-9.

Indeed, when it comes to claims by students challenging school policies or practices, no

Court has found that a charter school is not a state actor. DE 181 at 3; DE 177 at 7.

Therefore, there is no authority in law for substantial difference of opinion on this point.

         Finally, immediate appeal of the Court’s ruling on the Equal Protection claim is

not necessary to materially advance the ultimate termination of the litigation, particularly

1
  Manhattan Community Access Corp. v. Halleck, 139 S. Ct. 1921 (2019), is not to the contrary. There, the majority
found that there was no state action because the power delegated to the entity in question—the operation of public
access television channels—was not one that the government had any obligation to provide to citizens; however, the
Court contrasted that with the obligation found in West v. Atkins to provide medical care to prison inmates. See id. at
1929 n.1. By contrast, here, the authority that the state of North Carolina expressly delegated to CDS and RBA
through its charter—the provision of free public education—is one that the state is obligated to provide pursuant to
the North Carolina Constitution.
                                                          15



      Case 7:16-cv-00030-M-KS                 Document 230            Filed 07/03/19          Page 15 of 23
in light of the available remedy of partial final judgment pursuant to Rule 54(b). Entry of

partial final judgment would accomplish the same goals and bring finality to both claims

decided, without necessitating the analysis required under 28 U.S.C. § 1292(b) as to

whether its March 28 Order “involves a controlling question of law as to which there is

substantial ground for difference of opinion.” At the same time, as previously discussed,

entry under Rule 54(b) would authorize issuance—and enforcement—of the injunction to

which Plaintiffs are entitled. See Braswell Shipyards, Inc. v. Beazer East, Inc., 2 F.3d

1331, 1335 (4th Cir. 1993).2 Certification of interlocutory appeal before any injunction

has issued is therefore not only unnecessary to advance the litigation, it actually impedes

the normal operation of the district court’s administration of the case, and risks having

the opposite result.

         B. In the alternative, if the Court certifies the Equal Protection Claim under
            28 U.S.C. § 1292(b), it should also certify the Title IX claim and the ruling
            on RBA’s status as a state actor.

         For the reasons enumerated above, certification of interlocutory appeal of

Plaintiffs’ Equal Protection claim under 28 U.S.C. § 1292(b) is not warranted. However,

should this Court grant Defendants’ motion for interlocutory review, it should also certify

Plaintiffs’ Title IX claim for interlocutory appeal. Unlike the Equal Protection question,

on which there can be little room for disagreement on this record, the question of whether

2
  Should an appeal ultimately be taken pursuant to 28 U.S.C. § 1291, the District Court would retain authority to
modify or enforce any injunction that had issued. See Hudson v. Pittsylvania Cnty., Va., 774 F.3d 231, 234 (4th Cir.
2014) (“[A] district court’s continuing jurisdiction over its permanent injunction order does not render that order
non-final within the meaning of § 1291. The district court’s ability to modify or terminate an injunction post-
judgment ‘simply expresses the inherent power . . . possessed by courts of equity to modify or vacate their decrees
as events may shape the need.’”) (quoting Holiday Inns, Inc. v. Holiday Inn, 645 F.2d 239, 244 (4th Cir. 1981)
(internal quotation marks omitted)).
                                                         16



     Case 7:16-cv-00030-M-KS                 Document 230            Filed 07/03/19         Page 16 of 23
dress codes that differentiate based on sex and sex stereotypes violate Title IX is a

controlling question of law as to which there is substantial ground for difference of

opinion.

        This Court’s grant of Summary Judgment on Plaintiffs’ Title IX claim was based

on its finding that the Department of Education’s revocation in 1982 of a sub-section of

its regulations that specifically addressed codes of appearance is entitled to deference.

Yet, as Plaintiffs discussed at length in their summary judgment briefing,3 this revocation

reflected a political calculation regarding the prioritization of resources, and it is not

entitled to deference when interpreting Title IX’s substantive terms. The plain text of

Title IX prohibits treating students in a facially different manner on the basis of sex. A

separate regulation remains in place that prohibits subjecting male and female students to

“separate or different rules of behavior, sanctions, or other treatment.” 34 C.F.R. §

106.31(b)(4). Although the statute contains certain defined exceptions (covering, for

example, religious organizations, social fraternities or sororities, “voluntary youth service

organizations,” see 20 U.S.C. § 1681(a)(2)-(9) (2012), or separate living facilities, see 20

U.S.C. § 1686 (2012)), gender-differentiated dress codes are not among them. To read an

exception for dress codes into the statute would be to ignore the Supreme Court’s

directive to give Title IX “a sweep as broad as its language.” N. Haven Bd. of Educ. v.

Bell, 456 U.S. 512, 521 (1982).


3
 See Memorandum in Support of Summary Judgment, DE 150, at 41-46; Memorandum in Opposition to
Defendants’ Motion for Summary Judgment, DE 177, at 34-47; Reply Memorandum in Further Support of Summary
Judgment, DE 181, at 16-19.
                                                   17



     Case 7:16-cv-00030-M-KS             Document 230         Filed 07/03/19       Page 17 of 23
       Further, the legislative history of Title IX makes clear that “stereotyped notions”

regarding girls’ interests and abilities or presumed “differences” between girls and their

male peers lie at the very heart of what Title IX was designed to eradicate. See 118 Cong.

Rec. 5804 (1972) (statement of Sen. Bayh). The express intent of the Skirts Requirement

is to teach students “chivalry” and “traditional values” regarding gender—and

specifically, to instill the belief that girls are more “fragile” and deserving of “protection”

than boys. DE 151 ¶ 94; DE 171 ¶ 94. The justifications animating the Skirts

Requirement at CDS should leave no doubt that it amounts to exactly the type of

discrimination Title IX was enacted to “root out, as thoroughly as possible.” 118 Cong.

Rec. 5804 (1972) (statement of Sen. Bayh).

       The Seventh Circuit has held not only that Title IX applied to a facially

discriminatory hair-length rule, but also that the challenged rule violated the statute.

Hayden v. Greensburg Cmty. Sch. Corp., 743 F.3d 569, 583 (7th Cir. 2014). In the

context of employment, courts have also held that dress and grooming policies that

impose sex-specific burdens based on stereotypes violate Title VII. See, e.g., Frank v.

United Airlines, Inc., 216 F.3d 845, 855 (9th Cir. 2000) (different weight requirements

between male and female flight attendants facially violated Title VII and were unjustified

as a BFOQ); Gerdom v. Cont’l Airlines, Inc., 692 F.2d 602, 610 (9th Cir. 1982) (same);

Carroll v. Talman Fed. Sav. & Loan Ass’n of Chicago, 604 F.2d 1028 (7th Cir. 1979)

(invalidating requirement that only female employees wear uniforms as “demeaning to

women,” and rejecting defense that women needed a uniform to prevent them from

                                              18



    Case 7:16-cv-00030-M-KS          Document 230       Filed 07/03/19     Page 18 of 23
engaging in “dress competition” as “based on offensive stereotypes prohibited by Title

VII”). These opinions indicate that there is substantial ground for difference of opinion

about whether the Skirts Requirement in place at CDS violates Title IX.

       Similarly, there is substantial ground for difference of opinion as to whether RBA

is, like CDS, a state actor, and as a corollary, whether it would be subject to Title IX.

This Court’s opinion finding a lack of state action by RBA rested on the fact that CDS

and RBA were not sufficiently “intertwined” to be considered the same entity. DE 216 at

27. However, regardless of the degree of intertwinement between the two entities, the

undisputed factual record supports an independent finding that RBA is a state actor based

on its actual role in promulgating and enforcing the Skirts Requirement, pursuant to the

Management Agreement. RBA was the joint applicant for the Charter, and has been and

remains the School’s manager, operator, and employer and supervisor of CDS’s

headmasters and chief administrators. DE 151 ¶¶ 292, 293, 309, 311; DE 171 ¶¶ 292,

293, 309, 311. Those officials act as state actors in enforcing school policy as a matter of

law. New Jersey v. T.L.O., 469 U.S. 325, 334 (1985).

       Moreover, undisputed evidence demonstrated that Mr. Mitchell, the RBA

president, served as Chair of the CDS, Inc. Board at the time the Uniform Policy was

established, DE 151 ¶¶ 26, 36; DE 171 ¶¶ 26, 36; it was Mr. Mitchell to whom A.P.’s

mother, Bonnie Peltier, was directed for an explanation when she questioned the reasons

for Skirts Requirement, and he who provided that explanation, DE 151 ¶¶ 84-87; DE 171

¶¶ 84-87; and it was Mr. Mitchell who personally authorized changes to the Uniform

                                             19



    Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19     Page 19 of 23
Policy’s contours that took place several months before they were formally approved by

the CDS Board, DE 151 ¶¶ 294-301. Thus, the record establishes that RBA has at all

relevant times played a principal role in both establishing and enforcing the Skirts

Requirement.

       Finally, there is no record evidence disputing RBA’s receipt of federal funds,

albeit indirectly via CDS. See 34 C.F.R. § 106.2(i) (defining “recipient” as an entity that

receives federal funding either “directly or through another recipient . . . including any

subunit, successor, assignee, or transferee thereof”) (emphasis added); 7 C.F.R. § 15a.105

(same); Grove City College v. Bell, 465 U.S. 555, 564 (1984), superseded on other

grounds by Civil Rights Restoration Act, Pub. L. 100-259, 102 Stat. 28 (1988).

Consequently, there is a substantial difference of opinion as to whether, on this factual

record, RBA should be considered a private rather than a state actor for purposes of

assessing the constitutionality of the Skirts Requirement, or for finding it is subject to

Title IX.

IV.    THE COURT SHOULD DENY DEFENDANTS’ MOTION TO STAY THE
       PROCEEDINGS.

       This Court should deny Defendants’ motion to stay the proceedings on Plaintiffs’

state constitutional and breach-of-contract claims. Should this Court grant the motion for

issuance of partial final judgment under rule 54(b), there would be no immediate impact

on the state law claims, and proceedings on those claims could continue to move toward a

resolution. No factual issues remain to be determined, substantial briefing on those claims

has already been submitted, and as stated in section I.B above, Plaintiffs are prepared to
                                              20



      Case 7:16-cv-00030-M-KS       Document 230        Filed 07/03/19    Page 20 of 23
further brief the state law claims, including the numerous issues of state law that are

entirely independent of the federal claims, while the instant motions are pending.

Depending on the Court’s calendar, resolution of those claims could even issue at the

same time as or shortly subsequent to issuance of a partial final judgment on the two

federal claims already decided, obviating altogether the need for piecemeal appeal.

Plaintiffs have waited more than three years for vindication of their constitutional rights

to equal protection. Because further delay in resolving the remaining claims in this case is

unwarranted, Defendants’ request for a stay should be denied.

                                     CONCLUSION

       For the foregoing reasons, the Court should grant partial final judgment pursuant

to Federal Rule of Civil Procedure Rule 54(b) on both Plaintiffs’ Equal Protection Clause

and Title IX claims and enter a declaratory judgment and permanent injunction barring

Defendants from enforcing the Skirts Requirement in violation of the Equal Protection

Clause. In the alternative, should the Court deem interlocutory appeal necessary at this

time, the Court should certify both the Equal Protection Clause and Title IX claims for

interlocutory appeal pursuant to 28 U.S.C. § 1292(b). No stay should be granted.

 Dated: July 3, 2019                       Respectfully submitted,

                                           ELLIS & WINTERS LLP

                                           /s/ Jonathan D. Sasser
                                           Jonathan D. Sasser
                                           NC State Bar No. 10028
                                           Post Office Box 33550
                                           Raleigh, NC 27636
                                             21



    Case 7:16-cv-00030-M-KS         Document 230       Filed 07/03/19    Page 21 of 23
                               Telephone: (919) 865-7000
                               Facsimile: (919) 865-7010
                               jon.sasser@elliswinters.com
                               Local Civil Rule 83.1 Counsel

                               AMERICAN CIVIL LIBERTIES UNION
                               FOUNDATION

                               /s/ Galen Sherwin (with permission)
                               Galen Sherwin
                               (LR 83.1(a) special appearance)
                               Amy Lynn Katz
                               (LR 83.1(a) special appearance)
                               Emma Roth
                               (LR 83.1(a) notice of special appearance
                               forthcoming)
                               Women’s Rights Project
                               125 Broad Street, 18th Floor
                               New York, NY 10004
                               Telephone: (212) 549-2615
                               gsherwin@aclu.org
                               wrp_ak@aclu.org

                               AMERICAN CIVIL LIBERTIES UNION
                               OF NORTH CAROLINA LEGAL
                               FOUNDATION

                               /s/ Irena Como
                               Irena Como
                               North Carolina Bar No. 51812
                               Sneha Shah
                               (LR 83.1(a) special appearance)
                               Post Office Box 28004 Raleigh, NC 27611
                               Telephone: (919) 834-3466
                               Facsimile: (866) 511-1344
                               icomo@acluofnc.org
                               sshah@acluofnc.org

                                      Counsel for Plaintiff

                                 22



Case 7:16-cv-00030-M-KS   Document 230    Filed 07/03/19      Page 22 of 23
                           CERTIFICATE OF SERVICE


       I certify that I have electronically filed the foregoing Memorandum in Support
of Entry of Partial Final Judgment under Rule 54(b), Declaratory Judgment, and
Permanent Injunction, and in Partial Opposition to Defendants’ Motion for
Interlocutory Appeal, or, in the Alternative, Entry of Partial Final Judgment with
the CM/ECF system, which will send electronic notification to counsel of record for all
parties.


Dated: July 3, 2019                     Respectfully submitted,

                                        /s/ Jonathan D. Sasser
                                        Jonathan D. Sasser
                                        NC State Bar No. 10028
                                        Post Office Box 33550
                                        Raleigh, NC 27636
                                        Telephone: (919) 865-7000
                                        Facsimile: (919) 865-7010
                                        jon.sasser@elliswinters.com
                                        Local Civil Rule 83.1 Counsel




                                          23



   Case 7:16-cv-00030-M-KS        Document 230      Filed 07/03/19    Page 23 of 23
